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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                         )
                                                   )
         Plaintiff,                                )   Criminal No. 6:13-CR-0049-GFVT-HAI-1
                                                   )
 V.                                                )
                                                   )
 BRUCE MITCHELL,                                   )                     ORDER
                                                   )
                                                   )
         Defendant.

                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition (“R&R”) [R. 362] filed

in the Record by United States Magistrate Judge Hanly A. Ingram on February 23, 2017. The

Magistrate’s Recommended Disposition was requested following the revocation of Bruce

Mitchell’s supervised release and the issuance of a warrant by this Court. [R. 353.] Initially, a

judgment was entered against Bruce Mitchell in December 2014. [R. 320.] Defendant Mitchell

was sentenced to forty-eight (48) months of imprisonment and three years of supervised release

for participating in a conspiracy to manufacture methamphetamine after pleading guilty to

violating 21 U.S.C. §§ 841(a) and 846. [R. 320.] Defendant Mitchell began his term of

supervised release on July 12, 2016. [R. 362 at 2.] Mr. Mitchell’s supervised release was

revoked following a violation of three supervised release conditions due to a urine sample testing

positive for cocaine and violation of a federal, state, or local law for possession of a Schedule II

controlled substance. [R. 362 at 2.] These initial violations were reported by the USPO due to

the Defendant’s January 13, 2017, urinalysis test results. [Id.] Upon oral motion by the
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Government, Violation #3 was dismissed at the Defendant’s initial appearance. [Id. referencing

R. 359.]

       Defendant Mitchel was charged with two additional violations of his supervised release

terms in an Addendum to the Supervised Release Violation Report. [R. 362 at 3.] Defendant

Mitchell tested positive for cocaine a second time after submitting to a urinalysis drug test at the

USPO on January 30, 2017. [Id.] The Addendum charges Mr. Mitchell with Violation #4 for

the positive test result and Violation #5 which states that the Defendant should not “commit

another federal, state, or local crime.” [Id.] Violation #5 was charged because the Sixth Circuit

has determined that “use of a controlled substance includes possession” and since cocaine is a

Schedule II controlled substance, possession is a federal crime. [R. 362 at 2.]

       On February 14, 2017, Judge Ingram conducted an initial appearance and preliminary

hearing. [R. 362 at 3.] At this proceeding “[d]efendant conceded probable cause regarding

Violations #1, 2, 4, and 5.” [Id.] The Defendant was remanded to custody after failing to

overcome the heavy defense burden of 18 U.S.C. § 3143(a). [Id.] At the February 22, 2017,

final hearing Defendant “competently entered a knowing, voluntary, and intelligent stipulation to

Violations 1, 2, 4, and 5.” [Id. at 3.] The Magistrate Judge considered the § 3553 factors using

the § 3583(e) analysis and found that the guidelines range for the Defendant’s supervised release

violations is four (4) to ten (10) months incarceration. [Id. at 5.] The United States requested

four months imprisonment to be followed by “two months at a halfway house, followed by

supervised release to expire on July 11, 2019.” [Id.] The Government’s request does not extend

the Defendant’s supervised release term. Defense Counsel “loosely agreed with the

government’s recommendation and said he had no objection to it” but did request intermittent

incarceration so that the Defendant could remain employed. [Id. at 5.]
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        The Government does note that Defendant Mitchell has a criminal history score of zero.

The underlying criminal conduct was associated with production of methamphetamines but

“there was nothing especially aggravating about it compared to similar defendants.” [R. 362 at

5.] This Court agrees with the Government’s reasoning that, were there only one positive test for

cocaine, further incarceration may not be necessary. But, here, Mr. Mitchell lied to the Probation

Officer about using drugs after the initial positive test for cocaine. The Defendant tested positive

for additional cocaine use less than two weeks after being confronted by the USPO about the

initial results. [See R. 362 at 5-6.] The Magistrate Judge’s opinion reiterates that revocation is

mandated by Congress. Defendant Mitchell has shown efforts to overcome his drug problems by

completing the RDAP program in prison, which is admirable, but more work is necessary to

prevent future illicit drug use.

        This Court and the Magistrate must consider the Defendant’s history and characteristics,

and the need to deter criminal conduct and protect the public when imposing a sentence. The

Defendant has been employed in a “good job,” has an opportunity for future employment

following this brief period of incarceration, and Mr. Mitchell’s criminal history is insignificant.

[R. 362 at 5.] But, Mr. Mitchell lied to the Probation Officer when asked about his cocaine use

and he continued to engage in drug use that resulted in a second positive urinalysis test. [R. 362

at 5-6.] The “primary wrong in the supervised release context is the violation of the Court’s trust

by an offender.” [Id. at 7.] The Magistrate Judge noted that Mr. Mitchell has once again been

caught with illegal drugs, the Defendant’s underlying conviction is based on similar drug related

charges, and the Defendant has already completed the RDAP which should have provided tools

and means to avoid drug use. [Id. 5-7] The Court agrees with the Magistrate Judge and implores

Defendant Mitchell to use this additional period of incarceration to consider the techniques
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learned in the RDAP program and to realize that future violations of his supervised release terms

will result in increasingly serious penalties.

       Upon evaluation of the entire record, the Report, the § 3553 factors imported into the

section 3583(e) analysis, the Guidelines range, accompanying documents, and the sentencing

materials, Magistrate Judge Ingram issued an R&R recommending revocation with a term of

imprisonment of four (4) months, followed by two months in a halfway house, and a term of

supervised release for the remainder of Defendant’s original three-year term. [R. 362 at 8.]

Following incarceration, Defendant Mitchell’s supervised release will be governed by the

conditions previously imposed at Docket Entry 320 and this term of supervised release shall

expire on July 11, 2019.

       The R&R concludes by directing the parties to the relevant statute that requires any

objections to be filed within fourteen (14) days of service. [Id. at 8.] On March 8, 2017,

Counsel for Defendant Mitchell filed a Waiver of Allocution. [R. 366.] Generally, this Court

must make a de novo determination of those portions of a recommended disposition to which

objections are made. 28 U.S.C. § 636(b)(1)(c). When no objections are made, however, this

Court is not required to “review . . . a magistrate’s factual or legal conclusions, under a de novo

or any other standard . . . .” Thomas v. Arn, 474 U.S. 140, 150 (1985). Parties who fail to object

to a Magistrate’s recommended disposition are also barred from appealing a district court’s order

adopting that report and recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981).

Nevertheless, this Court has examined the record, received the Defendant’s waiver of allocution,

and it agrees with the Magistrate Judge’s Recommended Disposition.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:
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       1.      The violations reported in the Addendum to the Supervised Release Violation

Report were properly considered by the Magistrate at the final revocation hearing following the

general referral made in this Court’s Summons and Revocation Order. The Court’s referral to

Magistrate Judge Ingram [R. 353] is hereby amended, nunc pro tunc, to include referral of

Violation #4 and Violation #5 from Supervised Release Violation Report Addendum; and

       2.      The Magistrate’s Recommended Disposition [R. 362] as to Bruce Mitchell is

ADOPTED as and for the Opinion of the Court; and

       3.      The Defendant, Bruce Mitchell, is found to have violated the terms of his

Supervised Release as set forth in the Petition filed by the United States Probation Office, the

Addendum to the Supervised Release Violation Report, and the Recommended Disposition of

the Magistrate Judge; and

       4.      Mr. Mitchell’s Supervised Release is REVOKED; and

       5.      Mr. Mitchell is hereby sentenced to a term of incarceration for four (4) months to

be followed by two (2) months in a halfway house, and the remainder of his original three-year

term of supervised release to expire on July 11, 2019; and

       6.      The term of supervised release shall be imposed under the same conditions

previously imposed at Docket Entry 320.




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     This the 16th day of March, 2017.




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